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                                  REPORT OF THE FINANCE COMMITTEE

                                                JULY 15, 2020
A meeting of the Finance Committee was held on Wednesday, July 15, 2020, at 7:00 p.m. via teleconference.
Mayor Jim Donchess, Chairman, presided.

Mayor Donchess

 As Chairman of the Finance Committee, I find that due to the State of Emergency declared by the
 Governor as a result of the COVID-19 pandemic and in accordance with the Governor’s Emergency Order
 #12 pursuant to Executive Order 2020-04, this public body is authorized to meet electronically.

 Please note that there is no physical location to observe and listen contemporaneously to this meeting, which
 was authorized pursuant to the Governor’s Emergency Order. However, in accordance with the Emergency
 Order, I am confirming that we are:

 a) Providing public access to the meeting by telephone, with additional access possibilities by
 video or other electronic means:
   To access Zoom, please refer to the agenda or the City’s website for the meeting link.
   To join by phone dial: 1-929-205-6099
   Meeting ID: Meeting ID: 861 2767 1943
   Password: 807417

   The public may also view the meeting via Channel 16.

b) Providing public notice of the necessary information for accessing the meeting:

       We previously gave notice to the public of the necessary information for accessing the meeting, through
       public postings.   Instructions have also been provided on the City of Nashua’s website at
       www.nashuanh.gov and publicly noticed at City Hall and Public Health Department.

c) Providing a mechanism for the public to alert the public body during the meeting if there are
   problems with access:

       If anybody has a problem accessing the meeting via phone or Channel 16, please call 603-821-2049 and
       they will help you connect.

d) Adjourning the meeting if the public is unable to access the meeting:

       In the event the public is unable to access the meeting via the methods mentioned above, the meeting
       will be adjourned and rescheduled. Please note that all votes that are taken during this meeting shall be
       done by roll call vote.

Let’s start the meeting by taking a roll call attendance. When each member states their presence, please
also state whether there is anyone in the room with you during this meeting, which is required under the
Right-To-Know Law.
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The roll call was taken with 6 members of the Finance Committee present: Alderman Patricia Klee,
Alderwoman Elizabeth Lu, Alderman Linda Harriott-Gathright, Alderwoman Shoshanna Kelly, Alderman
Brandon Michael Laws, Mayor Jim Donchess. Alderman Michael B. O’Brien, Sr., was recorded absent.

Members not in Attendance:           Alderman Michael B. O’Brien, Sr.

Also in Attendance:          Alderman Skip Cleaver
                             Alderman Richard A. Dowd
                             John Griffin, CFO/Comptroller
                             Kelly Parkinson, Purchasing Manager
                             David Boucher, Wastewater Superintendent
                             Sarah Marchant, Community Development Director
                             Kim Kleiner, Administrative Services Director
                             Bobbie Bagley, Public Health Division Director
________________________________________________________________________________________

Alderman Klee

I’m here, I can hear you, I am alone in the room and I’m here because of social distancing.

Alderwoman Lu

Yes I am here alone and I can hear you.

Alderman Harriott-Gathright

And the Clerk is present, here alone and, of course, can hear you all and I am practicing social distancing.

Alderwoman Kelly

I am here, I am alone and I am practicing social distancing.

Alderman Laws

I’m here, I am alone and I am also practicing social distancing.

Mayor Donchess

Alderman O’Brien contacted me to inform me that he would not be available tonight. I am present and I am
alone at home here and I am participating remotely because of social distancing.

Alderman Harriott-Gathright

OK so we have six members and we have a quorum.

Mayor Donchess

Thank you, Madam Clerk. The first item on the Agenda is Public Comment. Is there anyone on the meeting
via Zoom Video or over the phone who would like to make public comment concerning any matters before the
Committee? And before we go on to the remainder of the agenda I wanted to mention that I see that we have
Alderman Skip Cleaver present, he is not a member of the Committee but is, of course, a member of the Board
of Aldermen.
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PUBLIC COMMENT - None

COMMUNICATIONS

From:    Bobbie Bagley, Public Health Director
Re:      Humane Society Renewal Contract Relative to Chickens/Roosters and How Many Impounded

Chairman Donchess to accept and place on file.

From:    Kelly Parkinson, Purchasing Manager
Re:      Purchase of Wastewater Chemicals

Mayor Donchess

Now we have a Communication from Kelly Parkinson, Purchasing Manager. Before we proceed, I want to
introduce Ms. Parkinson who is appearing for the first time before the Finance Committee; she is the new
Purchasing Manager. As you may recall, Dan Kooken retired and we are very happy to welcome Ms.
Parkinson to appear before us and to work for the City and we appreciate her interest in the Purchasing
Manager position.

Kelly Parkinson, Purchasing Manager

Thank you.

Mayor Donchess

So we have a Communication from Ms. Parkinson.

MOTION BY ALDERMAN HARRIOTT-GATHRIGHT TO ACCEPT, PLACE ON FILE AND APPROVE THE
PURCHASE OF SODIUM HYPOCHLORITE IN THE AMOUNT OF $125,000 TO BORDEN & REMINGTON,
BY ROLL CALL

ON THE QUESTION

Mayor Donchess

Now do we have Mr. Boucher? Is he here to address this item.

David Boucher, Superintendent of Wastewater

Yes I am Mr. Mayor.

Mayor Donchess

Could you please do so?

Mr. Boucher

Yes, David Boucher, Wastewater Superintendent. This is for Sodium Hypochlorite, it’s a disinfectant we use in
our treatment process after we process the wastewater, before it gets discharged to the river, Sodium
Hypochlorite is added to disinfect the water. It is added on a daily basis, 24/7. This is an annual cost for the
Sodium Hypochlorite. We get involved in a bid process through the Northeast Merrimack Valley Chemical
Consortium to get the lowest price. The price through Borden & Remington for this Fiscal Year, it is up 1.5%
but it is still a reasonable cost at .086 dollars per wet time so we are able to keep our budget the same as last
year.
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Mayor Donchess

Any comments or questions? Alderwoman Klee?

Alderman Klee

Thank you. Mr. Boucher this is just for the wastewater, this is not for any of that combined sewer is that
correct, because we wouldn’t be able to get to that?

Mr. Boucher

That is correct; this chemical is only used at the wastewater plant and it is just added to the water just before it
gets discharged to the river.

Alderman Klee

OK, thank you very much.

Mr. Boucher

You’re welcome.

Mayor Donchess

Any other questions or comments? Madam Clerk, would you please call the roll?

A viva voce roll call was taken which resulted as follows:

Yea:    Alderman Klee, Alderwoman Lu, Alderman Harriott-Gathright, Alderwoman Kelly,
        Alderman Laws, Mayor Donchess                                                                6

Nay:                                                                                                 0

MOTION CARRIED

From:    Kelly Parkinson, Purchasing Manager
Re:      Purchase of Property Record Card Scanning & Data Management

MOTION BY ALDERMAN HARRIOTT-GATHRIGHT TO ACCEPT, PLACE ON FILE AND AUTHORIZE THE
PROPERTY CARD SCANNING PROPOSAL IN THE AMOUNT OF $59,638 TO INCEPTION
TECHNOLOGIES, BY ROLL CALL

ON THE QUESTION

Mayor Donchess

And I believe Ms. Kleiner is here to talk about the details of this contract.

Kim Kleiner, Director of Administrative Services

Yes, good evening Mayor Donchess and Members of the Committee. The idea for scanning our property
record cards was actually first introduced I believe to me at a Coffee with the Mayor earlier this year by a
resident. At that time, the Assessing Department looked into the matter; we had some conversations with IT
and Director Codagnone.
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And we felt that although it was a worthy project, we were in the middle of the testing for the AP5 upgrade and
we were just beginning the Full Measure & List Revaluation and we did not feel it was a project that we could
take on at that time. We set it aside and then COVID happens.

In hindsight now to look back, would the project have been beneficial with COVID and with our staff working
remotely, absolutely no doubt about it. So we brought it back again now that we finished the AP5 Upgrade.
Director Codagnone brought in a couple of organizations. We just some discussions, one of the main reasons
we are choosing Inception is because they deal with Docuware. Upon reviewing the Docuware Software, we
felt it was a product that meets our needs not only in Assessing but also in other City Departments. So when
you engage and you bring in a new software, you also want to make sure that although it fits for Assessing, is it
going to fit for the rest of the organization because you don’t want a number of different document
management systems in different City Organizations.

So all of our Directors sat and reviewed the Docuware Software and had a presentation before Assessing
decided to move forward with this Software. This is a very large project. So if you look to the section of the
contract where it says the City’s responsibility, this is a lot of staff time. We will actually be pulling the files, we
will be going through, we will be indexing them. This is going to take a significant amount of time, but it has
many, many rewards to it. Not only will our Assessors be able to work with their new tablets on AP5 from the
field, they will now be able to pull up those property record files and they will be able to deal with those. That is
something that they haven’t had in the past; they’ve had to come back to the office, look through the property
record file, call back the resident, ask more questions, look at the file again. You know, it’s not as efficient as it
could be.

The other part of this and certainly one that we still recognize is the being able to offer these files publicly. But
you really have to put this in phases, this is a very large project. So while we need to first work on getting
these files indexed, figure out the process there is going to be going through each file and saying “what is a
public file and what is non-public”. So if you have financial information or if you have on the commercial side,
you have income statements and things like that, those will have to be marked by us as a non-public
document. They will still be scanned but when you do get into the Phase where you look at making these
public documents, those documents would be handled differently.

I know that I got reached out to today because last night at my presentation I didn’t mention the public portion
of this project. That is not to say that there isn’t. I noted in my Memo about how more efficient we could be
because we wouldn’t have to spend time copying and e-mailing files, so certainly we do realize the significance
of making records easily accessible for the public. But there are also the efficiencies within the Department; so
it is two-tiered. The other part of this contract that is worth noting is at the end you will see a line item for
professional services. That line item is so that we can sit with the company and figure out how best to move
forward with other Departments and look into how we handle contracts within the City because we’d like to get
our City Contracts on this process because it contains a very useful workflow for sending those contracts
through the City Department, ultimately to the Board of Aldermen or the Finance Committee, obtaining
signatures and having those contracts executed. So we have built that additional money into the contract to
see how this project progresses after the Assessing portion of it.

Mayor Donchess

Thank you, Ms. Kleiner. Now are there any comments of questions, but before we go to that I wanted to make
sure that the record reflects that Alderman Dowd has joined the meeting. Any other Alderman that we have
not recognized who have joined the meeting? I don’t see anyone but if anyone has, please speak up? Ok
then let’s go to Alderman Klee who I believe has a question.

Alderman Klee

Thank you so much. I remember reading it and now sitting here I am looking through the document. Director
Kleiner could you remind me how many items that we feel that will be scanned in all of this.
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And you mentioned about the private possible or that there will be, the plan is in the future to have a public and
I’ll call it a City side of it where there would be some private information. So in aspect to that, there are two
questions here. One is how many of the items do you feel are going to be scanned and the second is that
private information will that be accessible to anybody in the Assessing Department or will that be much like
how they do in hospitals? Not everybody can see a particular patient’s record. So would you have levels of
security for that or those pieces of more private information like income and so on.

Director Kleiner

So quite often the items like income statements and things of that sort, those will only be seen by the
Assessing Department; that’s who needs to see them. They have Certifications to deal with these types of
records, but certainly we want to open it up so that the Building Department could access the Assessing
records that may be a property record card, or a map or something that may benefit a Building Inspector who is
going out to do a building inspection. So there will be “Assessing Only” document and then there will be
documents that could be public meaning to other Departments or outside the City.

This quote, we did go through the vault, that’s where our records are kept and they estimated that we have
around 100,000 documents that need to be scanned and that’s what this quote is based off of. You will see
that there is a line in the quote that should that estimate be wrong, the price could change.

Alderman Klee

Ok thank you and so just to there will be different levels of security, different levels of accessible information
depending upon what your role is with the public, city and assessing and so on and so forth. Thank you so
much, I think that will make the public feel a little bit more safe about some of their information. I appreciate
that.

Director Kleiner

You’re welcome.

Mayor Donchess

Any other questions or comments? Alderwoman Lu.

Alderwoman Lu

Thank you, Mr. Mayor. I know that the property records are available on-line, not the property records, the
cards are available on-line already. When you say “property record files” what do you mean? Do you also
include the files in the building permit office that has building permit, etc.

Director Kleiner

That’s a great question. So I think a lot of people get confused or don’t quite understand what the difference is
between a property record card and your property record file. So your property record file could contain
everything, all the history of that property from the time you pulled the permit to erect the property. So you
could have planning and zoning maps in there. You would certainly have building permits that have been
pulled and executed and assessed by our Assessors. Those would be in there. You would have property
record cards from different points in time where the assessment on that property has changed. You could also
have abatement information in your property record file. You could have documents that have been received
or requested on the property by either a financial institution or a member or a resident has reached out and
made inquiries on the property.
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It really is the history of the property from beginning until now where the property record card is just that
snapshot, right, that’s showing you what is with the property now other than the portion of the card that will
have the history of the assessment. And even that is generally 7 to 8 years, it is not the entire list of the
assessment on the property record card. So we try to think of the card as a snapshot in time and the file as the
history.

Alderwoman Lu

I see and just a follow up please? And will each file be limited to because I think last night you talked about
closing, the closed files. After the property changes hands, does it lose the history or not?

Director Kleiner

Great question; so we were talking about closed files last year and that’s more on the AP5 on the CAMA
system. So the property file stays the same; the map and lot and parcel that’s the property, where you could
have a property that closes and either that property has been sold and that goes on to a different owner, but it
is still the same property file, the same property record on the AP5 system, you will just see on the card that it
has been sold and a different owner. So closed accounts really aren’t closed property record files, those don’t
get closed per se.

Alderwoman Lu

Thank you. And would you say the need for this kind of electronic recording has really been needed, is it
something that recent multiple requests have generated the need or is it just something that we needed to
move into to be more a more efficient office and operation? Do you want me to re-state that, I feel as though I
was a little …

Director Kleiner

So if I may, I think I know what you are trying to say and certainly there have been a lot of requests for property
record files. When you look at the number of requests that have come and I do, it’s not that many residents
are requesting the whole history of their property, although if you are buying a property, I would encourage you
to do that. So research your property and you can certainly come in and look at it. That’s not something that I
knew until I became involved with Assessing. But there’s also the business aspect of this. And I don’t want to
lose sight of that. So there’s a number of reasons why this is just good business. You have documents in
there that are literally falling apart in your hand, because of the age of the document. This is preservation of
those documents. You don’t get that when you have a scanning technique. The other thing is the access to
document.

So when you walk in our vault and we certainly would be glad to have you down and take a look. It’s a lot of
pulling files and searching through files. When you are dealing with a Document Management System, it has
incredible search techniques and you can have instant access to these files and not only to the file but to the
document within the file in a matter of seconds. So there’s big efficiency in a system like this.

Alderwoman Lu

Thank you.

Mayor Donchess

Anyone else have any questions or comments? I don’t see anyone. Madam Clerk, would you please call the
roll?
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A viva voce roll call was taken which resulted as follows:

Yea:    Alderman Klee, Alderwoman Lu, Alderman Harriott-Gathright, Alderwoman Kelly,
        Alderman Laws, Mayor Donchess                                                            6

Nay:                                                                                             0

MOTION CARRIED

From:    Kelly Parkinson, Purchasing Manager
Re:      Purchase of Assessing Contractor

MOTION BY ALDERMAN HARRIOTT-GATHRIGHT TO ACCEPT, PLACE ON FILE AND AUTHORIZE THE
CONTRACT WITH REX A. NORMAN, CAE, IN AN AMOUNT NOT TO EXCEED $124,800 FOR ASSESSING
CONSULTING SERVICES, BY ROLL CALL

ON THE QUESTION

Mayor Donchess

Ms. Kleiner?

Director Kleiner

Good evening. So before you is a contract with Mr. Rex Norman. Mr. Norman would be providing the City with
Assessing Supervisor and technical advice. So a little background on Mr. Norman. Mr. Norman actually
worked for the City a number of years ago in the last ‘90’s. He also sat on our Board of Assessors. He is
currently the Community Development Director for the Town of Windham. But prior to that he was their Town
Assessor for a number of years. Mr. Norman is familiar with the City. He’s familiar with some members of our
staff, but he is certainly more importantly familiar with our processes. The other important part to note about
Mr. Norman is that he has served on a number of Committees, both State and International. He is a Certified
General Real Estate Appraiser and he has owned and operated an LLC serving a consultant to communities
and he has done so while he has been Community Development Director for Windham. He has most recently,
one of the ones that I reviewed, was he did work for the Town of Rye. So he is familiar with contracting with
different municipalities when they are in need of that technical experience. He is not being hired as our Chief
Assessor, the City will continue our search for a Chief Assessor, you will notice that the contract is open-ended
for that purpose. But we are thankful to Mr. Norman to agreeing to do this for us and we feel it will be very
beneficial for our staff at this time.

Mayor Donchess

Could you explain to the Committee as to why it is necessary to have a licensed Assessor Supervisor available
either as a full-time employee or as a consultant.

Director Kleiner

Certainly Mayor; so according to ASB Regulations, you must have work of a general assessor reviewed by an
Assessing Supervisor and that includes all valuations, appeals, a number of different thing that have to be
signed off and approved by someone who holds an Assessing Supervisor Certification.

Mayor Donchess

And in this case for Nashua would be Mr. Norman.
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Director Kleiner

That it would; all of our staff would have their work, their valuations reviewed by and signed off by Mr. Norman
before brought forth to the Board of Assessors.

Mayor Donchess

And one question that we received was given that he, Mr. Norman, works for the Town of Windham, does he
have time and will he be able to provide the necessary services to the City of Nashua given his affiliation with
Windham.

Director Kleiner

Certainly a fair question, one that Mr. Norman have discussed at length. To be fair, he has done this for other
communities. He has continued to work and have his own business certainly choosing the assignments
himself. He’s not going to be a Chief Assessor, with a Chief Assessor comes a different role. As a Chief
Assessor you are working on supervising the day-to-day activity within the office, you are overseeing the
Administrative Staff. There’s a lot of other duties. So this scope is very limited. He is going to be providing
that technical overview of the Assessing work. He will have access to our systems, he will have access to our
CAMA System and we feel that he will, being a limited scope, he will have the necessary time to perform the
duty and to perform it well.

Mayor Donchess

Any questions or comments? Alderwoman Klee.

Alderman Klee

Thank you Mr. Mayor and thank you Director Kleiner, I really appreciate this. And before the meeting I had
you asked you about it being no-ended and I appreciate you addressing that. As you said, it would be
terminated upon no longer needed it if or when we were finally able to find a Chief Assessor, which to be
honest with you I’m not so sure that would be possible with the certain pressure that’s going on these days
within the community of nastiness. But putting that aside, I just wanted to say thank you for doing this.

So we also limited it to $124,800.00 if at that time we are still not able to find a Chief Assessor, you would
come back in, if he were willing to renew this contract is that how it would go and how long do we think this “not
to exceed” monies will last.

Director Kleiner

Great question; so that is based upon a year. And I certainly understand the question of the money. To be
clear, so this is not abnormal. You are hiring a consultant and you are hiring a consultant with very significant
experience and that’s what we want right now. You are not paying this individual benefits and pension and all
the things that would be an employee. So you have to take that into consideration. It will last a year, if we still
haven’t found a Chief Assessor within that time period, then we would need to come back to the Board and
extend the contract.

Alderman Klee

Thank you very much, that’s all I have right at the moment, thank you Mr. Mayor.

Alderwoman Lu

Thank you, Mayor Donchess. I’m not clear, or I didn’t hear the details so is it a one year contract and in other
words is that stated fee paid regardless of how long this person stays with us?
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Director Kleiner

No. If the City was to terminate the contract the payments end. The reason that we say not to exceed $124 is
we figured on a year if he was to last a year, that’s how much the weekly payments would turn out to be.

Alderwoman Lu

I’m sorry, I didn’t completely read the contract. How is the fee determined, is it an hourly rate, is it a weekly
rate?

Director Kleiner

It’s a weekly rate.

Alderwoman Lu

Ok and when did we develop the need for this, I’m asking how long we have working without this important
required staff member?

Director Kleiner

So I am going to give you two different answers because I want to be very clear with the Committee. I’ve had
the pleasure of working with some truly amazing individuals across the State that have given technical advice
to me and to our staff while we have been undergoing important changes within the Department. I spoke to last
night about David Cornell, certainly an expert of all experts. But I’ve had other Chiefs across the State that
have reached out and been very supportive of our Department and I am truly very grateful for that. I think that
we have needed this. Certainly when I came to you last fall and I said that it was time to hire another Chief
that’s when we really needed some more technical experience. I realized that so that was the start of it. We
did have a supervisor, someone that held the Certification within the Department until most recently and now
we do not. So now it is an issue for the Department in the work that we do moving forward.

Alderwoman Lu

OK, thank you.

Alderman Laws

Ms. Kleiner did we go out to bid for this or did we just pick this guy because we knew who he was?

Director Kleiner

Great question, we did not go out to bid for this, we actually put out a request on an Assessing List Serve
which goes out to all the professional assessors. We reached out to the DRA for recommendations, we
reached out to the NHAAO for recommendations. Mr. Norman stepped forth, I did reach out to other firms
within the area and spoke with three other Assessing firms. At the moment no one else was interested in the
contract.

Alderman Laws

Follow up Mayor? I just lost my thought. I am just a little bit apprehensive about this because that’s a lot of
money for what effectively may end up being a part-time job. And it’s more than we’d be paying a Chief
Assessor, am I correct, not counting benefits, pension things like that. Is that true?
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Director Kleiner

Your Chief Assessor is advertised at about $117 plus benefits and pension, so it would be less than the Chief
Assessor when you take into consideration benefits.

Alderman Laws

I have full confidence in you Ms. Kleiner and I trust you to the end of days, I’ve worked with you before in many
different capacities and if you need this, I believe you need this. It just seems like a lot of money for a
temporary solution to a permanent problem and I just needed to voice my concern about that. But I will
support this.

Mayor Donchess

I mean I think in answer to Alderman Laws’ concern, I mean this is a necessary function in the sense that a
Licensed Assessing Supervisor is required to certify the work of the other Assessors, otherwise the other
Assessors by law can’t really do anything. So without this position the work of the Assessing Department and
Ms. Kleiner can correct me if I am misstating any of this, but the work of the Assessing Department would
essentially stop. Any valuations or other work, valuations, abatement requests, anything that Assessors do,
those results, those conclusions need to be reviewed by an Assessing Supervisor. Now that, of course, begs
the question “well what did we do before we had Mr. Norman”. Well as you I think know because it has been
publicized in the paper and we have reported to you at various times, multiple complaints have been filed by a
resident or two against all of the Assessors, multiple complaints, criminal complaints, ethics complaint, to be
straight forward, that’s why we can’t find a Chief Assessor, a very big factor. This is very well known within the
Assessing Community of New Hampshire; it is a small community. People know each other, they believe that
these attacks are totally unjustified and no one wants to step into this type of position.

So it puts Nashua in a very vulnerable place because no one wants to work here. It is difficult to attract
someone to work here although most of these complaints, criminal and otherwise have turned out to be
unfounded, there was a situation where, because we have two brothers who have worked for the City for a
long, long time like 20 years or so in the Assessing Department. There was a situation where one brother went
out to do as assessment review at the request of the property owner and reached a certain conclusion, I’m not
sure what exactly that conclusion was. But the property owner was unsatisfied with that so wanted someone
else, but didn’t a review by the same Assessor. So the Chief Assessor at the time sent the only other
Assessor that was available which happened to be the brother of the first Assessor. He went out and reviewed
the work and I am not sure what conclusion he reached either, but it still did not satisfy the property owner. So
as a result of this, a lot of complaints were filed against all these assessors with an ethics board up in Concord.
You have seen the documentation; there was a single finding which was that, there was a finding that well,
having one brother go in when another brother had already reviewed is an appearance of conflict. Now
something like this had never been decided before this is kind of a new decision.

There’s no specific rule that says one brother can’t do an assessment on the same house as his other brother,
but in any event, there was a find that this way a technical violation and appearance of conflict. So a minor
sanction was issued which was that this Assessor needed to take a course for a year and that he could not
serve as a supervisor for one year. He can still be an Assessor, they were seeking the revocation of all his
licenses and everything like that. Well none of that happened is that his ability to supervise was suspended for
one year and they encouraged him to take a course and then become a supervisor and then he’d be a
supervisor again. So that meant that the City didn’t have an Assessing Supervisor, hence the search to find an
Assessing Supervisor. Now because of the – right or wrong – the people in the Assessing Community who are
out there assume that they will come under attack, that they will have criminal complaints, they will have ethics
complaints filed against them just like all of the other Assessors who work for Nashua. So it was very hard to
find someone would take on this responsibility. Mr. Norman was willing to do it. Did he charge top dollar?
Probably – but this is a necessary function. Have all of these complaints filed against the Assessors cost the
hardworking tax payers of Nashua a lot of money? Yes they have.
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But the reality is we have to unfortunately use taxpayer’s money to pay someone to serve in this function
because it is very difficult as I have explained and I think this has become very evident over time, is very
difficult to attract someone to take on a role where they – right or wrong – assume that they are going to be
treated to the same type of, they are going to receive the same kind of treatment as all of the other Assessor in
Nashua have received and they may end up having to defend all kinds of complaints. So I mean to be straight
forward that is the situation that the City is in. I have to say after reviewing the presentation by Ms. Kleiner and
Mr. Miseirvitch last night, I don’t know if Mr. Laws was there or not but the depth of the changes and of the
improvements that have been made is remarkable. All of the improvements across the board in the Assessing
Department showing how professionally all of these issues have been handled and the depth of the
understanding and of the recommendations is really to be commended. But still that effort has been
recognized across New Hampshire; the other Assessors realize all of this but they don’t want to be in the
position that our Assessors are and therefore it is difficult to find someone. This is a necessary function, if you
want the Assessing to continue, this contract is a necessity and this is the price that this qualified gentleman,
highly qualified but this is what he required and this is the only person that was willing to take on this role.

Alderman Laws

Mayor, if I may? I am glad that my questions led to that very detailed explanation of the situation that we are
in. I’m glad that it’s a matter of public record right now. And I would just like you guys to know that if there’s
one skill set that I have, that I think is exceptional, it is the ability to listen to people (audio cuts out). So I will
make my services available to you whenever you need them in whatever capacity, you just tell me where to get
Certified and I’ll come in there and people can bag on me all day long, I’m used to it.

Mayor Donchess

You want to become an Assessor? Well maybe you should get trained, there are some courses you can begin
with.

Alderman Laws

Alright, I’ll get on that. Thank you Kim and thank you Mayor.

Mayor Donchess

Any other questions or comments? Alderwoman Kelly.

Alderwoman Kelly

Thank you and thank you for that detailed explanation, I think there was some good discussion there. So my
question is just how is this going to dovetail with our continuing to look for an Assessor and are there some
road marks where we might say in 3 months, we will see where we are at. Has anyone come forward? Are we
looking at that so potentially we could get someone in that roll instead of paying this gentleman a salary for a
year and still not continuing that. I assume you have a plan but I would love to hear it for the record.

Mayor Donchess

Well the plan is to continue to advertise and hire someone who is qualified as quickly as possible. I mean we
don’t want to hire someone who is not qualified or we don’t think would do a good job. I mean we’ve run into
issues with that before and we want to make sure that whoever is hired will do a good job. And they are going
to be under a lot of pressure. So it has to be someone we know can handle the situation. And again, we are
dealing with the understanding of the situation here that other New Hampshire Assessors are very well aware
of. So when we advertise we get no applicants from New Hampshire that have any qualification. So it’s all out-
of-state applicants. And I think it is fair to say that we came close with someone but they developed a family
situation that made a move out their current, you know, from elsewhere in New England impossible.
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So the reality is we will continue to look and as soon as we find someone, but there was another person that
the Board of Assessors and Ms. Kleiner didn’t think was appropriate and wouldn’t do as good a job as we
need. So one person seemed like they would be very good, but their family situation developed unfortunately;
the other person they didn’t think could handle this job in the way we expect. So they are going to continue to
advertise and continue to interview any qualified applicants that come forth. And as soon as we find one that is
a good fit sort to speak, and will I think live up to everything that’s been done there in the Assessing
Department, then we will hire someone as soon as we possibly can.

Director Kleiner

Mayor Donchess.

Mayor Donchess

I think Alderwoman Kelly had a follow up.

Alderwoman Kelly

I will yield to Ms. Kleiner.

Director Kleiner

So one of the things that we have done and certainly everything Mayor Donchess said is absolutely true. One
of the things that we have done most recently after coming very close to a candidate, is we have started
reaching out to other Assessing Agencies in other States. Vision, our revaluation company, which is a
nationally company has actually been speaking, we are going out and we are speaking to people and speaking
to not only the New Hampshire Assessing Association but the International Association to kind of widen our
scope. I think that there is a very limited number of Assessors that hold this high of a Certification in New
Hampshire. So really we are reaching out and widening that search and it is going to be important if we are
ever to fill this position.

Alderwoman Kelly

And thanks for that, I have no concern that we are not doing a thorough job looking for it and I know that even
when we filled it before there were only two other applicants. I just want to make sure and maybe it is as simple
as our Assessing Updates that we have been having, in three months we just at least talk about it and see how
it’s going with this gentleman, see where we are with the candidates so that we can feel good about saying,
OK we need this now but we are continuing to make sure that we are looking for that and trying to find a more
permanent solution. That’s all.

Mayor Donchess

No problem, I mean I think the quarterly update will be a good thing. And that was sort of the plan but then
COVID-19 intervened and things got messed up. But as you saw, the Division was able to come back last
night and is certainly able to do so on at least a quarterly basis. Alderwoman Lu?

Alderwoman Lu

Thank you Mayor Donchess. I would just like to ask that we try to resist placing the blame on our current
situation on any of the residents who have worked hard, maybe shown frustration and you know, anger at
times I know. But I am strong supporter of someone that is seeking to improve their Government. I have
listened and spoken with the residents who have been a thorn in your sides. But you know, I find it hard to
imagine that we can’t, that these people are the reason that we haven’t got a Chief Assessor.
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There were problems and the problems have been slowly but surely corrected. But I know that even this
situation where we need someone because we are operating a Department without the proper credentials was
brought to our attention, my attention first by these people who are keeping their eyes on the Assessing
Department. So I just want to reject that blame. And I just wanted to speak up for them. I don’t really like us
taking personal, being personal about efforts to improve our City Government and I don’t like to describe it as a
meanness or a mean atmosphere.

I just also wanted to ask that, my understanding is when and Ms. Parkinson I’m really pleased to meet you and
I am happy to welcome you. This is not something that’s new but my understand was then a recommendation
comes to us from the Purchasing Manager, that Ordinance has it that we have, that we are provided with the
number of firms solicited, the summary of their quotes and what we were asking specifically from them and the
recommendation and rationale. And in this case, it is not provided. I know that incidentally we have learned
that there have been several other people that have been approached about this. But my understanding,
based on just reading what my role is as a Finance Committee member, is that that’s what we are meant to be
presented. I look forward to just having the comfort of that process and procedure. Thank you.

Mayor Donchess

Alderwoman Lu, I am going to have to differ with you, because we are not blaming anyone. But we were
asked a direct question. Why do we have to pay this guy $124,000.00? And why is he necessary? So I
believe we are not blaming anyone and I never used the word “mean”, I gave you the facts. All of the
Assessors, there have been many complaints which have sought the revocation of all the licenses of all of the
people working – all the professionals but one working in the Assessing Office, anybody that has anything to
do with residential. Plus, there have been criminal complaints, multiple ones filed against them.

This is well-known in the State of New Hampshire to the other Assessors, very well-known. Those are facts,
that’s not blame, those are facts. So rather than mislead you, mislead Alderman Laws who asked us about this
directly, we gave you the facts. And if you have a basis to contest those facts, if you know Assessors in New
Hampshire who will assume this position, or if you know Assessors who say that this isn’t true, well bring those
facts forward. But we are not blaming, but we want to be straight-forward and honest with the members of this
Committee, the members of the Board of Aldermen and the citizens of Nashua. And if those facts are
uncomfortable, well it’s too bad, that’s the situation.

Anyone else have any comments, questions. If not would the Clerk please call the roll?


A viva voce roll call was taken which resulted as follows:

Yea:    Alderman Klee, Alderwoman Lu, Alderman Harriott-Gathright, Alderwoman Kelly,
        Alderman Laws, Mayor Donchess                                  7

Nay:                                                                                              0

MOTION CARRIED

From:    Kelly Parkinson, Purchasing Manager
Re:      Purchase of City of Nashua Master Plan

MOTION BY ALDERMAN HARRIOTT-GATHRIGHT TO ACCEPT, PLACE ON FILE AND AWARD A
CONTRACT FOR PROFESSIONAL SERVICES FOR THE CITYWIDE 2020 MASTER PLAN IN THE
AMOUNT OF $200,249 TO UTILE DESIGN, BY ROLL CALL
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ON THE QUESTION

Mayor Donchess

We have Ms. Marchant here to address this contract, could you please proceed?

Sarah Marchant, Director of Community Development

Yes, good evening. Thank you all so much. I am here before you to talk about finding a contract for the
Master Planning Consultant. This process was started quite a while ago, we put an RFQ out earlier this year.
We had eight great responses from firms from all over the country and locally. We, as a team, including the
Mayor, Chief of Staff, Economic Development Director, our Long Range Planner and myself and Scott Leclair
the Planning Board Chair, decided to interview three firms. And from there, we have selected Utile Design as
the best possible firm to support the City through its Master Plan Process.

The idea is this will take approximately 12 to 15 months and the value in this is really hearing from our
community, engaging on some of those really critical issues we’ve been talking about over and over again to
get a clear vision of what the community wants as a future and then to move on from this Master Plan into
implementing changes to the Land Use Code to make sure that we actually can follow through on this vision.
So we do want this to be kind of a compressed process. We are pushing for this 12 to 15 month context,
because the real key here is the implantation on the other side and updating our Land Use Code to reflect the
values that we understand are so important to the community through this process.

I will say that Utile has an incredible amount of experience and are a design firm out of Boston with many of
the skills that we were looking for, Economic Development, Urban Design, very specifically transportation
planning, Arts & Culture planning backgrounds. They have a huge amount of engagement and different ways
of approaching engagement. If you think back when we talked about this last fall, certainly COVID has
absolutely changed how we initially went into planning some of the engagement and what this process might
look like. I think Utile Design will be an excellent team behind us. They are young, they are adaptable they are
nimble and I think we will do our best to come up with many different ways to really engage people in this new
COVID environment the best way we can.

This contract does include several large open house type meetings, it includes several larger meetings, it
includes neighborhood level meetings. And it also includes that interaction through hopefully piggy-backing off
of things that are already in place, like the Farmer’s Market where we are practicing social distancing or other
kinds of events that may or may not be happening this fall and next spring that we can really jump on. So
that’s my quick summary. I am happy to answer any questions.

Mayor Donchess

Any questions, comments? Alderwoman Klee?

Alderman Klee

Thank you again, Mr. Mayor. Director Marchant, I just have a quick question about this as far as the Master
Plan and so on is concerned. When I ran for office the first time here as Alderman, I ran across a number of
less than happy constituents or soon-to-be constituents, discussing the bridge over the river from Nashua to
Hudson, that there had been something in the Master Plan about that. It was abandoned and it never went
anywhere. But one of the things that people kept telling me over and over again, was get that out of the
Master Plan because they have this fear and anxiety that this could bubble up. I’m not asking for that to
happen, I’m not even suggesting that to happen. But my question is, if something like that that has basically
been deemed this is not going to happen or another item, would we pull that out of the Master Plan and is this
going to re-create a Master Plan or is just going to tweak the one we already have.
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Director Marchant

Great question; this is a from scratch new document. So certainly the Master Plans that have gone in the past
and I would say the ones that have been completed more recently would be more informative today than the
ones from say 20 years ago. But this will be a brand new document. There is a giant list of things that we do
expect the consultants to be very familiar with and to use as kind of background information, everything from
say the East Hollis Street plan, the Main Street plan, the Riverfront plan. The bike/ped plan we are working on
right now, all of these documents we’ve been working on to give some kind of shape and context. But the
point of this is to engage with our community, to ask those harder questions and to really understand what
Nashua sees itself as today and where do we want to be in 5 years from now and 10 years from now so we
can make sure our Ordinances reflect those values.

Alderman Klee

Just one follow up, just for clarification, this has nothing to do with any kind of the parking studies or anything
else like these are two very separate unique items, correct?

Director Marchant

That is correct. This is a high level review, that parking study is going to be really detailed.

Alderman Klee

OK thank you very much.

Alderwoman Lu

Director Marchant is the comparison of the quotes that page that has the words “Draft Fee Proposal” at the top
left of it?

Director Marchant

So this was an RFQ, it was not an RFP there were not quotes that came back with all eight of them. We
interviewed them based on qualifications. The qualifications the evaluation that stated in the Memo and then
based on those qualifications we selected a firm and entered into negotiations with them. We did ask as part
of the response to the RFQ to give us their general hourly rates. I do have that information from each of the
RFQ’s, I could supply that to you. But it was not, we don’t have quotes from all of the respondents.

Alderwoman Lu

I see but what is the fee?

Director Marchant

The fee is $200,483.00.

Alderwoman Lu

Oh I see it now. Thank you.

Director Marchant

You’re welcome.
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Mayor Donchess

Any other questions or comments? Would the Clerk please call the roll?


A viva voce roll call was taken which resulted as follows:

Yea:   Alderman Klee, Alderwoman Lu, Alderman Harriott-Gathright, Alderwoman Kelly,
       Alderman Laws, Mayor Donchess                                                              6

Nay:                                                                                              0

MOTION CARRIED

UNFINISHED BUSINESS

ON THE QUESTION

Mayor Donchess

I think Ms. Bagley was here to talk about this. Sorry for the delay are you here?

Bobbie Bagley, Director of Health & Community Services

Yes I am here.

Mayor Donchess

You were in communication with the Humane Society, so can you offer the perspective they gave you?

Director Bagley

Yes sir. In response to some of the questions that the Committee had, the Executive Director of the Humane
Society provided answers that allowed us to learn that they did not incur any additional costs for the work that
they were doing in their contract and that the contract amount that is being proposed for this next Fiscal Year is
appropriate for them. One of the other things that was brought to the attention of myself, our Health Officer
and the Humane Society, was the missing language around chickens. So the Executive Director did add in an
amended contract language that says, “chickens found running at large, they will provide impoundment and
quarantine services for those animals that are impounded by the Animal Control Office.

They also added “in accordance with RSA 44 18-A” and the Nashua Revised Ordinance of 93-6 for impounded
of dogs, cats, ferrets found at large, they have added chickens as well, that they will impound immediately if no
permanent identification was found. They also provided the number, we were able to review from the previous
fiscal year how many chickens were actually impounded and I believe that I saw four and I believe all four of
those, a home was found for all four of them. So those were the questions that were proposed by the
Committee, I’m not sure if there are any additional questions, but the contract has been amended with that
additional work that has not been more than what the agency deems as needing to have any more money put
into their contract. Any other questions?

Alderwoman Kelly

I just wanted to say thank you for going back and just doing due diligence on that. We hear from different
people things that are going on so we wanted to make sure that the situation was manageable for the Humane
Society and I love everyone’s faces when chickens comes up. Everyone always has a little bit of a smirk. I
have four chickens in my backyard, they will not be running way, but I am pretty excited to have them.
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Mayor Donchess

But how many of those are roosters?

Alderwoman Kelly

None of them are, no roosters, because that would be against the Ordinance, right? I’ll share a picture
sometime.

Mayor Donchess

Does Alderman Dowd have a question.

Alderman Dowd

Yes, you are referring to chickens, but it does not apply to roosters. We have a noise Ordinance against
roosters and we have found places for roosters to go. We had issues when they were brought to the Human
Society, on Ferry Road, the neighbors complained. If they are there for a couple of weeks it is an issue. So I
would hope that any roosters that are impounded will go the places that we found out of town that will take
them.

Mayor Donchess

Any other comments? Alderwoman Klee.

Alderman Klee

Thank you. I don’t know if anybody can answer what Alderman Dowd had said. The issue with roosters as I u
understand it is that yes, if an individual, they can’t bring it to the Humane Society. However, if our Animal
Control Officer does, in fact, pick one up and I think that’s what those six are that have been since January 1st,
2019, they came through the Animal Control Officer. When they come through the Animal Control Officer, they
have no choice but to bring them to the Humane Society. The Humane Society can’t just bring them to the
places that we put up there, they have to have some type of blood work and that’s what we had mentioned at
the last meeting. That bloodwork results can take up to a week. And the last case, I believe that there’s
someone who was kind enough to take the rooster and I have a feeling it was the one that was running around
Ward 3 but took that rooster to either their home or I don’t know whether it was pending that or they were going
to be keeping it or what the situation was.

But they did try to get it out there, we can’t expect people to step up like that. That was what my concern was
that I brought up at the last meeting was that if our Animal Control Officer does bring them there, there was a
week where they have to sit there pending the blood work. I had asked who pays for that test, I had asked that
kind of question. It doesn’t look like it is costing anything, so I am really happy to hear that. But your concern
about the rooster possibly remaining in there for a week still exists and technically speaking, our Ordinance
says “No roosters” including them. So we are kind of in a Catch 22. They can’t keep it, but they can’t get rid of
it. We have built this into the system. And that was the question I was trying to bring up at the last meeting,
my concern with the chickens, I should say the roosters. The chickens don’t seem to be an issue, it’s just these
roosters. And the one I believe that was running around Ward 3, was because the individual just let it go.
From what I could tell from the Animal Control Officer, he picked it up because someone called that there was
a rooster in the street.

Alderman Harriott-Gathright

Just to be clear, this is to take it off the table by roll call.
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From:    Dan Kooken, Purchasing Manager
Re:      Contract Renewal with the Humane Society of Greater Nashua for FY21 (Value: $99,081)
         Department: 109 Civic & Community Services; Fund: General
        (tabled at 7-1 mtg for further clarification)

MOTION BY ALDERMAN HARRIOTT-GATHRIGHT TO TAKE FROM THE TABLE THE CONTRACT
RENEWAL WITH THE HUMANE SOCIETY OF GREATER NASHUA FOR FY21, BY ROLL CALL

ON THE QUESTION

Mayor Donchess

I didn’t think we made the motions so we probably got into the merits of this question too early. But in any
event. Alderwoman Harriott-Gathright’s motion is to take the matter from the table. Could you please call the
roll?

A viva voce roll call was taken which resulted as follows:

Yea:    Alderman Klee, Alderwoman Lu, Alderman Harriott-Gathright, Alderwoman Kelly,
        Alderman Laws, Mayor Donchess                                                           6

Nay:                                                                                            0

MOTION CARRIED

From:    Dan Kooken, Purchasing Manager
Re:      Contract Renewal with the Humane Society of Greater Nashua for FY21 (Value: $99,081)
         Department: 109 Civic & Community Services; Fund: General

MOTION BY ALDERMAN HARRIOTT-GATHRIGHT TO ACCEPT, PLACE ON FILE, AND AUTHORIZE
THE CONTRACT RENEWAL WITH THE HUMANE SOCIETY OF GREATER NASHUA FOR FY2021 IN
THE AMOUNT OF $99,081. FUNDING THROUGH DEPARTMENT 109: CIVIC & COMMUNITY SERVICES;
FUND: GENERAL, BY ROLL CALL

ON THE QUESTION

Mayor Donchess

Any discussion beyond what we have already had? Alright, could you please call the roll?

A viva voce roll call was taken which resulted as follows:

Yea:    Alderman Klee, Alderwoman Lu, Alderman Harriott-Gathright, Alderwoman Kelly,
        Alderman Laws, Mayor Donchess                                                           6

Nay:                                                                                            0

MOTION CARRIED

NEW BUSINESS – RESOLUTIONS - None

NEW BUSINESS – ORDINANCES – None
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RECORD OF EXPENDITURES

MOTION BY ALDERMAN HARRIOTT-GATHRIGHT THAT THE FINANCE COMMITTEE HAS COMPLIED
WITH THE CITY CHARTER AND ORDINANCES PERTAINING TO THE RECORD OF EXPENDITURES
FOR THE PERIOD FROM JUNE 26, 2020 TO JULY 9, 2020, BY ROLL CALL

A viva voce roll call was taken which resulted as follows:

Yea:   Alderman Klee, Alderwoman Lu, Alderman Harriott-Gathright, Alderwoman Kelly,
       Alderman Laws, Mayor Donchess                                                                 6

Nay:                                                                                                 0

MOTION CARRIED

GENERAL DISCUSSION - None

PUBLIC COMMENT - None

REMARKS BY THE ALDERMEN

Alderman Laws

I just wanted to welcome Ms. Parkinson to the team.

Mayor Donchess

Yes, why don’t we take this opportunity which I probably should have done before to ask Ms. Parkinson to
introduce herself and to tell us a little bit about herself and how it was that she came to work for the City of
Nashua.

Ms. Parkinson

Hi everybody, it’s very nice to meet you all and I am very excited to be working for the City of Nashua. I have a
little bit of a varied background in purchasing, but I have 30 years, I hate to say that, of Purchasing Experience.
The most recent of which was for Margarita’s, the restaurant group who overnight with COVID-19 closed the
doors. They are starting to reopen but things look a little different there. That was what really kind of what
precipitated my move into looking for other employment. I think it’s a good way to put it. Ironically the City of
Nashua job popped up within a week or two of the posting, I saw it within a week or two of me being
unemployed and here I am a little bit later.

The bulk of my career I actually spent in long-term care, doing purchasing for senior care, two different senior
care companies. I did 16 years with them so I am fairly well-versed with regulations and that world and how
Government impacts Corporate business anyway. I live in Exeter currently but do have plans on relocating to
the Nashua area. I think that’s important to know.

Mayor Donchess

Alright, thank you very much. Alderwoman Kelly?

Alderwoman Kelly

Yeah I was going to say welcome as well, I look forward to working with you Ms. Parkinson. And then I didn’t
put up my hand quick enough but I just wanted to say thank you to Director Marchant for moving forward the
Master Plan for the City and I look forward to seeing that conversation in our City.
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Alderman Harriott-Gathright

I think I already said welcome to Ms. Parkinson but I’ll say it again. But I also want to say thank you Kim for
the detail breakdown of what you provided for us tonight. It was very helpful for me. And Mayor, I also want to
say thank you as well for responding to Alderman Laws’ question and being really precise about what has
really been going on. I appreciate that, thank you.

NON-PUBLIC SESSION - None

ADJOURNMENT

MOTION BY ALDERMAN KLEE TO ADJOURN BY ROLL CALL

A viva voce roll call was taken which resulted as follows:

Yea:   Alderman Klee, Alderwoman Lu, Alderman Harriott-Gathright, Alderwoman Kelly,
       Alderman Laws, Mayor Donchess                                                             6

Nay:                                                                                             0

MOTION CARRIED

The Finance Committee meeting was adjourned at 8:23 p.m.

                                                             Alderman Linda Harriott-Gathright
                                                             Committee Clerk
